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 5
     Attorney for Defendant
     RONALD REEVES
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-365-GEB
 9
                                                     )
                                                     )
10           Plaintiff,                              )       STIPULATION REGARDING
                                                     )       EXCLUDABLE TIME PERIODS
11
     v.                                              )       UNDER SPEEDY TRIAL ACT;
                                                     )       [PROPOSED] FINDINGS AND ORDER
12
     JOSE AGUILAR-MADRIZ, et al.                     )
                                                     )
13
                                                     )       Date: February 28, 2014
                                                     )       Time: 9:00 a.m.
14
             Defendants.                             )       Judge: Honorable Garland E. Burrell, Jr.
                                                     )
15
                                                     )
16

17
             The United States of America through its undersigned counsel, Justin Lee, Assistant
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19   United States Attorney, together with counsel for defendant Ronald Reeves, John R. Manning,

20   Esq., and counsel for defendant Gabino Cuevas-Hernandez, Hayes H. Gable, III, Esq., hereby
21
     stipulate the following:
22
          1. By previous order, this matter was set for status conference on January 10, 2014.
23

24
          2. By this stipulation, the defendants now move to continue the status conference until

25   February 28, 2014 and to exclude time between January 10, 2014 and February 28, 2014 under
26
     the Local CodeT-4 (to allow defense counsel time to prepare). Defendants David Martinelli,
27
     Juan Silva, and Moses Puledo Aguilar wish to remain on the calendar.
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        3. The parties agree and stipulate, and request the Court find the following:
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 2          a. Counsel for the defendants need additional time to review the discovery, conduct

 3              investigation, and continue negotiations with prosecution in an effort to reach a
 4
                resolution.
 5
            b. Currently the discovery in this case includes 129 pages and two video DVDs.
 6

 7
            c. Counsel for the defendants believe the failure to grant a continuance in this case

 8              would deny defense counsel reasonable time necessary for effective preparation,
 9              taking into account the exercise of due diligence.
10
            d. The Government does not object to the continuance.
11
            e. Based on the above-stated findings, the ends of justice served by granting the
12

13              requested continuance outweigh the best interests of the public and the defendants in

14              a speedy trial within the original date prescribed by the Speedy Trial Act.
15
            f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
16
                Section 3161(h)(7)(A) within which trial must commence, the time period of January
17
                10, 2014 to February 28, 2014, inclusive, is deemed excludable pursuant to 18 United
18

19              States Code Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local Code

20              T-4 because it results from a continuance granted by the Court at defendant’s request
21
                on the basis of the Court’s finding that the ends of justice served by taking such
22
                action outweigh the best interest of the public and the defendants in a speedy trial.
23
        4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
24

25   Speedy Trial Act dictate that additional time periods are excludable from the period within which

26   a trial must commence.
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        IT IS SO STIPULATED.
 1

 2   Dated: January 7, 2014                           /s/ John R. Manning
                                                     JOHN R. MANNING
 3                                                   Attorney for Defendant
                                                     Ronald Reeves
 4

 5
     Dated: January 7, 2014                          /s/ Hayes H. Gable
 6                                                   HAYES H. GABLE
 7
                                                     Attorney for Defendant
                                                     Gabino Cuevas-Hernandez
 8

 9   Dated: January 7, 2014                          Benjamin B. Wagner
10
                                                     United States Attorney

11                                             by:   /s/ Justin Lee
                                                     JUSTIN LEE
12
                                                     Assistant U.S. Attorney
13

14                                      ORDER
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            IT IS SO FOUND AND ORDERED.
16
     Dated: January 7, 2014
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